        Case 2:22-bk-10266-BB                   Doc 51 Filed 01/20/22 Entered 01/20/22 19:06:13                                     Desc
                                                 Main Document    Page 1 of 1
                                          UNITED STATES BANKRUPTCY COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
   Name, Address, Telephone Numbers, and California State Bar Number (if applicable)
                                                                                             CASE NO.: 2:22-bk-10266-BB
   Michael S. Kogan (SBN 128500)
   Kogan Law Firm, APC                                                                      CHAPTER: 11
   11835 W. Olympic Blvd., Suite 695E
   Los Angeles, CA 90064
                                                                                             REQUEST COURTESY
   Telephone: (310) 954-1690
                                                                                                  NOTIFICATION OF
   mkogan@koganlawfirm.com
                                                                                                  ELECTRONIC FILING (NEF)



   In re:   ESCADA AMERICA, LLC                                                                  REQUEST REMOVAL FROM
                                                                                                  COURTESY NOTIFICATION OF
                                                                                                  ELECTRONIC FILING


                                                                             Debtor(s)



                                REQUEST TO BE ADDED OR REMOVED FROM
                            COURTESY NOTIFICATION OF ELECTRONIC FILING (NEF)
To the Clerk of the U.S. Bankruptcy Court, I hereby:

 Request Courtesy Notification of Electronic Filing. The above named wishes to receive courtesy electronic notice of
    all documents filed in the above referenced case. I understand the courtesy electronic notification shall be delivered via
    the Court’s Case Management/Electronic Filing (CM/ECF) system as a Notice of electronic Filing (NEF) and that I must be
    a registered User of the Court’s CM/ECF system to be eligible for courtesy NEFs.

    I understand it is my responsibility to add myself and my e-mail address to the above referenced case via CM/ECF in order
    to receive a courtesy NEF.

    I further understand this request DOES NOT impose any obligation on the Court, the debtors or any other party in the case
    to deliver courtesy copies of any orders, pleadings or other documents entered on the docket by mail, telephone, facsimile,
    or any other means of electronic transmission.

    I will use docket event “Request for Courtesy Notice of Electronic Filing (NEF).”

 Request Removal from Courtesy Notification of Electronic Filing. By selecting this option, courtesy notification of
  court orders and all other pleadings entered on the docket in the above referenced case will no longer be sent via
  electronic means to the above named.

    I will use docket event “Request for REMOVAL from Courtesy Notice of Electronic Filing (NEF).”

    (WARNING: This form must be used to be added or removed from receiving Courtesy NEFs and may NOT be
    used in place of Substitution of Attorney form F 2090-1.4)


Dated: _1/20/22_________              ___________/s/Michael S. Kogan_______________________________________
                                            Signature Michael S. Kogan

(NOTE: This form can only be filed electronically via the Court’s CM/ECF system. Scan this form to a PDF document,
then file electronically.)


             This form is mandatory. It has been approved by the United States Bankruptcy Court for the Central District of California.
